 

Case 9:19-bk-0O9680-FMD Doc1 Filed 10/11/19 Page 1 of 10

URED Melitta CoM ah artim et oo

 

United States Bankruptcy Court for the:

 

 

MIDDLE DISTRICT OF FLORIDA
Case number (if known) Chapter you are filing under:
a Chapter 7
0 Chapter 11
CI Chapter 12
CO Chapter #3 Cl Check if this an

amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish

between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

identify Yourself

About Debtor 1: 7 About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on Waiter

 

 

 

 

 

 

your government-issued First name First name

picture identification {for

example, your driver's J.

license or passport). Middle name Middle name

Bring your picture .

identification fo your Ganzi, Jr. é : Sui S

meeting with the trustee. Last name and Suffix (Sr., Jr., tf, I) > Last name and Suffix (Sr., Jr, EL WD

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XHX-KK-3705
individual Taxpayer
identification number
(ITN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
 

Case 9:19-bk-O9680-FMD Doc1 Filed 10/11/19 Page 2 of 10

Debtor +

4, Any business names and
Employer Identification
Numbers (EIN) you have
used in the last & years

Include trade names and
doing business as names

Walter J. Ganzi, Jr.

About Debtor 4:

Wl | have not used any business name or EINs.

 

Business name(s)

Case number {it known)

': About Debtor 2 (Spouse Only in a Joint Case):

* 11 have not used any business name or EINs.

 

 

EINs

. Business name(s)

 

EINs

 

§. Where you live

8171 Bay Colony Drive
#1902
Naples, FL 34108

 

Number, Street, City, State & ZIP Code

Collier
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

Hf Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Cade

 

 

Number, P.O. Box, Street, City, State & ZIP Code

County

lf Debtor 2's mailing address is different from yours, fii! it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

8. Why you are choosing
this district to file for
bankruptcy

Cheek one:

M@ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district,

C} | have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

Check one:

O Over the last 180 days before fiting this petition, |
have lived in this district longer than in any other
district.

-(] — Ehave another reason.

Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
 

 

Case 9:19-bk-0O9680-FMD Doc1 Filed 10/11/19 Page 3 of 10

Debtor 1

Waiter J, Ganzi, Jr.

Case number (if known}

 

Tell the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you are
choosing to file under

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuais Filing for Bankruptcy

(Form 2070}). Also, go to the top of page 1 and check the appropriate box.

@ Chapier7
C] Chapter 11
C] Chapter 12
C1 Chapter 13

 

8. How you will pay the fee

8s will pay the entire fee when | file my petition. Please check with the clerk's office in your focal court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, ar money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

[] need to pay the fee in instaliments. lf you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 403A}.

[1  Frequest that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for EENo
bankruptcy within the .
last 8 years? DI Yes.
District When Case number
District When Case number
District Wher Case number
10. Are any bankruptcy O No
cases pending or being
filed byaspouse whois MW yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
. Business
Debtor Bruce E. Bozzi, Sr. Relationship fo you Partner
Middle District of
District Florida (Tampa} When 10/44/49 Case number, if known
Debtor Just One More Restaurant Corp et al. Relationship to you Owner (40%)
Middle District of 19-01947
District Florida (Ft. Myers) When 3/07/19 Case number, ifknown  419.01948
14. Bo you rent your Mf No. Ge to line 12.
residence?
1 Yes. Has your landlord obtained an eviction judgment against you?
gO No. Go to fine 12.
O Yas. Fill out fnifial Statement About an Eviction Judgment Against You {Form 101A) and file it as part of

this bankruptcy petition.

 

Officiat Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 3
 

Debtor 1

Case 9:19-bk-09680-FMD Doc 1

Walter J. Ganzi, Jr.

Filed 10/11/19 Page 4 of 10

Case number sit known}

 

Report About Any Businesses You Own as a Sole Proprietor

 

 

 

 

12. Are you a sole proprietor
of any full- or part-time @ no. Go to Part 4,
business?
O Yes. Name and location of business

A sole proprietorship is a

business you operate as Name of business, if any

an individual, and is not a

separate lagal entity such

aS a corporation,

partnership, or LLC.

# you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a

separate sheet and attach

it to this petition. Check the appropriate box fo describe your business:
tl Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
O Singie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
oO Stockbroker (as defined in 11 U.S.C. § 101(53A)})
at] Commodity Broker (as defined in 11 U.S.C. § 107(6)}
oO None of the above

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it can set appropriate

Chapter 11 of the
Bankruptcy Code and are
you a smaii business
debtor?

Fer a definition of smal!
business debtor, see 11
U.S.C. § 101(51D).

deadiines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follaw the procedure
in 11 U.S.C. 7116(1}(B).

Hl No. Lam not filing under Chapter 11.

CI No. i am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
Code.

CI Yes. 1 am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Cade.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14,

Bo you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

Bo.

(1 Yes.
What is the hazard?

 

 

 

If immediate aifention is
needed, why is it needed?

 

Where is the property?

 

Number, Street, City, State & Zin Cade

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 9:19-bk-0O9680-FMD Doc1 Filed 10/11/19 Page 5 of 10

Debtor 1

Walter J. Ganzi, Jr.

 

Case number if known)

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a oriefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. you cannot do
80, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 4:
You must check one:

| received a briefing from an approved credit Oi
counseling agency within the 180 days before | :
filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received 2 briefing from an approved credit cE]
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that I asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
oankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. If you do not do so, your case
may be dismissed,

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

| am not required to receive a briefing about “DO
credit counseling because of: :

LJ ~sIncapacity.
| have a mental iliness or a menial deficiency
that makes me incapable of realizing or
making rational decisions about finances.

£] Disability.
My physica! disability causes me to be
unable to paricipate in a briefing in person,
by phone, or through the internet, even after {
reasonably tried to do so.

DO _~soActive duty.
| am currently on active military duty in a
military combat zone.

if you believe you are not required fo receive a
briefing about credit counseling, you must fife a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

l received a briefing from an approved credit
counseling agency within the 180 days before I filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of compietion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obfain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before yau
filed for bankruptcy.

if the court is satisfied with your reasons, you must stilt
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

jam not required to receive a briefing about credit
counseling because of:

C] Incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or mating rational
decisions about finances.

1 _sDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after 1 reasonably tried to
do so.

f séActive duty.
fam currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must fle a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 5

 
Case 9:19-bk-O9680-FMD Doc1 Filed 10/11/19 Page 6 of 10

Debior1 Walter J. Ganzi, Jr. Case number ff known)

 

  

Answer These Questions for Reporting Purposes

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
you have? individual primarily for a personal, farnity, ar household purpose.”

IE No. Go to line 16b.

Cl Yes. Go to line 17,

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CI No. Go to line 16c.

   

B Yes. Go to line 17.

 

 

166. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under CI Noe, | am not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that Bi Yes. | am filing under Chapter 7. Do you esiimaite that after any exempt property is excluded and administrative expenses

after any exempt
property is excluded and

are paid that funds will be available to distribute te unsecured creditors?

 

 

administrative expenses Ono

are paid that funds will

be available for B ves

distribution to unsecured

creditors?
18. How many Creditors do i 4.49 [1 4,000-5,000 3 25,001-50,000

you estimate thatyou = 59.99 [1 5001-10,000 [5] 50,001-100,000

. 1 100-199 1 10,001-25,000 Ci More than100,000
[1 200-999

18. How much do you O $0 - $50,006 D $1,000,004 - $10 mition C] $500,000,001 - $1 billion

estimate your assets to
be worth?

0 $50,001 - $160,000
Cl $100,001 - $500,000
0 $500,001 - $1 million

Ml $10,000,001 - $50 million
(4 $50,000,001 - $100 million
C1 $1400,000,001 - $500 million

Cl $1,000,006,001 - $70 billion
CO $10,000,600,004 - $50 billion
(i More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

FE] $0 - $50,000

FE $50,001 - $100,000
EJ $100,001 - $500,000
F1 $500,004 - $1 million

[J $1,000,001 - $70 million

0 $10,000,001 - $56 million
CJ $50,000,001 - $100 million
IB $100,000,001 - $500 million

[7] $500,000,001 - $1 billion

[1] $1,000,000,001 - $10 billion
C1 $10,000,000,001 - $50 bitlion
C] More than $50 billion

 

 

 

For you

i have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

iff have chosen to file under Chapier 7, | am aware that | may proceed, if eligible, under Chapter 7, 14,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapier 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b}.

| request relief in accordance with {he chapter of title 11, United States Code, specified in this petition.

bankruptcy ca

Se, Cc
and 3571. it

} understand makin Ps state}

esulfin fin

nt/concealing property, or obtaining money or property by fraud in connection with a
upfio $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1549,

 

Walter J. Ganzi, Jr.
Signature of Debtor{i

Executed on «10/11/2019

Signature of Debter 2

Executed on

 

MM /DDIYYYY

 

MM /DDIYYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 6
Case 9:19-bk-0O9680-FMD Doc1 Filed 10/11/19 Page 7 of 10

Debtor 1 Walter J. Ganzi, Jr. Case number (if known)

 

 

For your attorney, ifyouare _|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one Hi

If you are not represented by
an attorney, you do not need
to file this page.

 

 

 

Printed TaN V7
GrayRobinson

 

Firm name

333 S.E. 2nd Avenue
Suite 3200
Miami, FL 33131

Number, Street, City, State & ZIP Cade

Contact phone (305) 416-6880 Email address

 

 

 

Bar number & State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 9:19-bk-O9680-FMD Doc1 Filed 10/11/19 Page 8 of 10

 

United States Bankruptcy Court
Middle District of Florida

lore Walter J. Ganzi, Jr. Case No.
Debtor(s) Chapter

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of “Ty is true and er ect to the best of his/her knowledge.

My / H
Date: ‘10/11/2019 ll; é

Walter J. Gani ar. }
Signature of Debtor i

 

 

Lf
|

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Bank of America
PO Box 660576
Dallas, TX 75266

Bank of America

Global Commercial Banking

1301 Gervais Street, Suite 2020
SC3-230-20-02

Columbia, SC 29201

Just One More Restaurant Corp.
8955 Fontana del Sol Way, 24 Floor
Naples, FL 34109

Just One More Restaurant Holdings
8955 Fontana del Sol Way, 2™ Floor
Naples, FL 34109

Briargrove Retail LP
One Riverway, Suite 100
Houston, TX 77055

Claire Breen

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New York, Ny 10165

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Victor Ganzi
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New York, NY 10022

Page 9 of 10
Case 9:19-bk-O9680-FMD Doc1 Filed 10/11/19 Page 10 of 10

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1820 East Sky Harbour Circie #150
Phoenix, AZ 85034

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Internal Revenue Service
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